









Affirmed and Memorandum Opinion filed March 3, 2005









Affirmed and Memorandum Opinion filed March 3, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00616-CR

____________

&nbsp;

GILBERTO
AGUILAR NUNFIO, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
176th District Court

Harris County,
Texas

Trial Court Cause No.
503,416

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant=s original conviction for aggravated sexual assault with a
deadly weapon was reversed on petition for discretionary review by the Court of
Criminal Appeals.&nbsp; See Nunfio v. State,
808 S.W.2d 482 (Tex. Crim. App. 1991).&nbsp;
Appellant was again convicted of the same offense and sentenced to life
in prison.&nbsp; Appellant=s second conviction was
affirmed.&nbsp; See Nunfio v. State,
No. 10-92-00124-CR (Tex. App.CWaco Dec. 30, 1992, no pet.) (not designated for
publication). 








Appellant filed a motion for post-conviction DNA testing
under Chapter 64 of the Texas Code of Criminal Procedure.&nbsp; See Tex.
Code Crim. Proc. Ann. art. 64.01 B 64.05 (Vernon Supp. 2004-05).&nbsp; The trial court denied the request and
entered findings of fact and conclusions of law on June 18, 2004.&nbsp; The trial court found, among other matters,
that appellant failed to make the requisite showing that biological evidence
exists and is in a condition making DNA testing possible.&nbsp; Appellant filed a pro se notice of
appeal.

Appellant=s appointed counsel filed a brief in which he concludes the
appeal is wholly frivolous and without merit.&nbsp;
The brief meets the requirements of Anders v. California, 386
U.S. 738, 87 S. Ct. 1396 (1967), presenting a professional evaluation of the
record demonstrating why there are no arguable grounds to be advanced.&nbsp; See High v. State, 573 S.W.2d 807

(Tex. Crim. App. 1978).

A copy of counsel=s brief was delivered to
appellant.&nbsp; Appellant was advised of the
right to examine the appellate record and file a pro se response.&nbsp; See Stafford v. State, 813 S.W.2d 503,
510 (Tex. Crim. App. 1991).&nbsp; As of this
date, more than forty-five days have elapsed, and no pro se response has
been filed.

We have carefully reviewed the record and counsel=s brief and agree the appeal is
wholly frivolous and without merit.&nbsp;
Further, we find no reversible error in the record.&nbsp; A discussion of the brief would add nothing
to the jurisprudence of the state.

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed March 3, 2005.

Panel consists of Chief Justice
Hedges and Justices Fowler and Frost. 

Do Not Publish C Tex. R. App. P. 47.2(b).





